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                                                                               ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                               DOC#:     --------
                                                                               DATE FILED:  1/16/2025
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JASMIN DZOGOVIC,




                                Plaintiff
V.
                                                                Index No. 23-cv-08897
                                                                 JUDGMENT

LA GRANDE BOUCHERIE LLC,
THE GROUP US MANAGEMENT LLC,
and EMIL STEFKOV,

                   Defendants.
-------------------x
  WHEREAS, an Acceptance of Offer of Judgment pursuant to Fed. R. Civ. P. 68 having

been filed on Janmuy 13, 2025.

        It is, therefore, ORDERED, ADJUDGED AND DECREED: That jud gment is entered in

favor of Plaintiff Jasmin Dzogovic and against Defendants La Grande Boucherie LLC, The Group

US Management LLC and Emil Stefkov in the amount of $10,000.00, inclusive of attorney's fees

and costs, in full and final resolution of all of Plaintiffs claims in this Action.

Dated: New York, New York
        Janmuy 16, 2025
                                                                 A���J-d.                a_.,,�
                                                So Ordered:    /ff:f" _,,,_,
